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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF IOWA
                                   CENTRAL DIVISION

   TAYVIN GALANAKIS,                                                  CASE NO. 4:23-cv-00044

    Plaintiff/Counterclaim Defendant,                                 PLAINTIFF’S BRIEF IN
   vs.                                                                SUPPORT OF MOTION TO
                                                                      RECONSIDER, or alternatively,
   CITY OF NEWTON, IOWA, et al.,                                      MOTION TO DISMISS
                                                                      COUNTERCLAIMS UNDER FED.
   Defendants/Counterclaim Plaintiff.                                 R. CIV. P. 12(b)(6)



            COMES NOW the Plaintiff/Counterclaim Defendant and for this Brief in

Support of Motion to Reconsider, or alternatively, Motion to Dismiss Counterclaims

Under Fed. R. Civ. P. 12(b)(6) states:

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                                                 INTRODUCTION

            The Court previously dismissed many of Defendants Nathan Winters and

Cristopher Wing’s Counterclaims on May 8, 2023. These Defendants first sought to

amend their Answer and Counterclaims on May 12, 2023. Due to failing to comply

with Local Rule 7(k), Defendants were ordered to file a supplemental motion stating
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Plaintiff’s position by May 22, 2023.

       Defendants did so, correctly stating Plaintiff’s intention to resist. The Notice

of Electronic Filing for the supplemental filing set a response deadline of June 5,

2023. (Ex. 1.) Despite this deadline, on May 31, 2023, the Supplemental Motion to

Amend was granted on the basis of Plaintiff’s response not having been filed. Given

the deadline set forth in the Court-issued Notice, Plaintiff asks this Court to

reconsider its Order and deny the motion to amend, or alternatively, order the

dismissal of Counterclaims III and IV for again failing to state a claim.

                              STANDARD OF REVIEW

       Motions to reconsider are to correct errors of fact or law in a prior decision.

Fongwo v. Gonzales, 430 F.3d 944, 948 (8th Cir. 2005). It allows the Court to reassess

a decision in light of additional or overlooked arguments. Id. The motion must state

a reason for reconsideration, not merely republish unsuccessful arguments.

       Leave to amend may be denied if the amendment would be futile. Hillesheim

v. Myron’s Cards and Gifts, Inc., 897 F.3d 953, 955 (8th Cir. 2018) (quoting Geier v.

Missouri Ethics Comm’n, 715 F.3d 674, 678 (8th Cir. 2013)). An amendment is futile

if it “‘could not withstand a motion to dismiss under Rule 12(b)(6).’” Id. (quoting Silva

v. Metropolitan Life Ins. Co., 762 F.3d 711, 719 (8th Cir. 2014)).

       To survive a Rule 12(b)(6) motion, a counterclaim must contain sufficient facts,

accepted as true, to state a claim to relief that is facially plausible. Van Stelton v. Van

Stelton, 994 F.Supp.2nd 986, 990 (N.D. Iowa 2014) (quoting Richter v. Advance Auto

Parts, Inc., 686 F.3d 847, 850 (8th Cir. 2012). The question is whether a claim



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adequately asserts facts, not legal conclusions, supporting it. Van Stelton, 994

F.Supp.2nd at 991 (quoting Whitney v. Guys, Inc., 700 F.3d 1117, 1128 (8th Cir. 2012).

Facial plausibility exists when pleaded facts allow reasonable inferences to be drawn

about liability. Magee v. Trs. of the Hamline Univ., 747 F.3d 532, 534 (8th Cir. 2014).

                                     ARGUMENT

I.   Claims for Filing a False Complaint Fails as No Complaint was Filed for
     Purposes of Iowa Code §80F.1(13)

      Whether the Court approaches this Motion as one to reconsider the grant of

the Supplemental Motion to Amend, or for dismissal, Counterclaims III and IV

cannot survive. Defendants amended counterclaims fail for the same reason as the

original: once again, Defendants do not identify a false complaint for purposes of Iowa

Code §80F.1(13).

      Iowa Code §80F.1 provides a private cause of action for an officer “from the

filing of a false complaint against the officer[.]” Iowa Code §80F.1(13). It also defines

“Complaint” as “a formal written allegation signed by the complainant or a signed

written statement by an officer receiving an oral complaint stating the complainant's

allegation.” Iowa Code §80F.1(1)(a). For such a complaint to be a false one implies a

determination made following “[a] formal administrative investigation of an officer[.]”

Iowa Code §80F.1(3). Such an investigation is “ordered by a commanding officer…or

commander’s designee…intended to gather evidence to determine the merit of a

complaint[.]” Iowa Code §80F.1(1)(b).

      None of these are alleged. There is no allegation of a formal written allegation

by Tayvin, nor one signed by an officer receiving an oral complaint from him.

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Defendants rely on two exhibits to meet this requirement. Neither does.

      The first, an email to Newton Mayor Michael Hansen, is in no sense “a formal

written allegation signed by the complainant[.]” Iowa Code §80F.1(1)(b). It is neither

signed nor a complaint. It is an email. An email someone suggested Tayvin send to

Mayor Hansen, lacking in any detail, stating Tayvin would be available to talk if

Mayor Hansen wanted to. There is no allegation this served as a basis for a “formal

administrative investigation” that “shall be commenced” following a complaint. Iowa

Code §80F.1(1)(d); Iowa Code §80F.1(3). This is not, as this Court has already stated:

“a submission to the employing agency that triggers an internal investigation into the

officer’s conduct.” (R.Doc 16 at 20; original emphasis.) It is an email from an aggrieved

resident to a city official, something any citizen has the right to send. To quote this

Court again: “[T]here is no canon of construction that would allow the word

‘complaint’ to be interpreted as referring to anything other than a formal complaint

made directly to the employing agency regarding the officer’s performance.” (R.Doc

16 at 20.) Exhibit E is not a complaint.

      Exhibit F, the second email relied on, is closer to a complaint, as it is a writing

directed toward the employing agency regarding Officers Winters and Wing’s

performance. But it is still not a complaint as it is not “a signed written statement by

an officer[.]” Exhibit F is an unsigned email that internally denies it constitutes a

formal complaint. As Lt. Ronald Cook states in Exhibit F, when Tayvin asked to file

a formal complaint, Lt. Cook, “explained the complaint process to him and gave him

a citizen complaint form to complete.” (Ex. F.) If Lt. Cook intended his email to initiate



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a formal administrative investigation, giving Tayvin the form to complete would be

meaningless. So either Lt. Cook knowingly misled Tayvin about the complaint

process, or Exhibit F is not a complaint.

      An email signature block is not a sufficient signature for a complaint, as the

Newton Police Department has recognized. The Newton Police Department

Complaint Form 1, attached as Exhibit 2, requires the complainant to “have written

or read the complaint herin [sic] and swear or affirm it is true.” (Ex. 2.) It also must

be notarized and warns of the consequences of filing a false report. (Ex. 2.) None of

this is true of Lt. Cook’s email.

      And again, there is no allegation this email “trigger[ed] an internal

investigation” of Officers Winters or Wing. Nor is there any claim these were

determined false following a formal administrative investigation. Absent allegations

of a complaint that has been determined false, there is no claim under Iowa Code

§80F.1(13). This is made clear by the statutory language: “An officer shall have the

right to bring a cause of action…for damages arising from the filing of a false

complaint[.]” Iowa Code §80F.1(13) (emphasis added).

      Officers have no right to cause of action for the filing of any complaint, only a

false complaint. As this Court recognizes, “complaint” must be considered in the



1   Accessible    at https://newtongov.org/DocumentCenter/View/7441/Personnel-
Complaint-Form?bidId= (last accessed May 31, 2023). This form can be considered on
a Rule 12(b)(6) motion as a “document whose contents are alleged in the complaint
and whose authenticity no party questions.” Ashanti v. City of Golden Valley, 666
F.3d 1148, 1151 (8th Cir. 2012) (citation omitted). It may also be considered as a
public record. Levy v. Ohl, 477 F.3d 988, 992 (8th Cir. 2007).


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context of and reference “to the same formal investigative process.” (R.Doc 16 at 20.)

      To have an action for a false complaint, the complaint must first be determined

false. This is again recognized by the Newton Police Department, which identifies six

possible dispositions of a complaint, distinguishing between “Unfounded – allegations

is false or not factual…Not sustained – not enough evidence to prove or disprove the

allegations…[and] Exonerated – incident happened but employee’s actions were

lawful and proper.” (Ex. 2.) By the Newton Police Department’s own standards,

Officers Winters and Wing are not alleging a false complaint, but one where their

actions were lawful and proper. And this assumes any investigation or disposition of

a complaint, something not alleged by Officers Winters and Wing. No claim is stated.

                                  CONCLUSION

      Amendment of the Answer and Counterclaims to include Counterclaims III

and IV would be futile. If the Amended Answer and Counterclaim is granted,

Counterclaims III and IV must be immediately dismissed for failing to state a claim.

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                                      PROOF OF SERVICE
          The undersigned certifies that the foregoing instrument was electronically filed on
 CM/ECF on May 31, 2023. Subject to the exceptions cited therein, Local Rule 5A provides this
 electronic filing, once electronically posted to the registered case party’s CM/ECF account,
 constitutes service for purposes of the Federal Rules of Civil Procedure.
          Copies have been provided to all registered parties because once the document is posted,
 those parties can view and download the presented or filed document.

                                              /s/ Tami Fairchild




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